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August 12, 2022

VIA ECF
Hon. Jessica S. Allen, U.S.M.J.
Martin Luther King, Jr. Building and U.S. Courthouse
50 Walnut Street, Courtroom MLK 2B
Newark, NJ 07101

     Re:       Castano v. Lex Brands, et al.
               Civil Action No. 1:22-cv-00767

Dear Judge Allen:

Please accept this joint status letter in advance of the Status Conference to be held on August 18,
2022, pursuant to the Pretrial Scheduling Order dated June 22, 2022.

The parties have exchanged interrogatories and document requests and are in the process of
answering them. Plaintiff has served Rule 12(b)(b) Notices of Deposition upon the two corporate
entities and Notices of Deposition to the two individual defendants.

The parties look forward to speaking with Your Honor at the upcoming Status Conference. Thank
you for your time and attention to this matter.

Respectfully submitted,

KOUTSOUDAKIS & IAKOVOU                                      TWERSKY LAW PLLC
LAW GROUP PLLC

/s/ Steven Siegler                                          /s/ Aaron Twersky
_________________________                                   ________________________
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